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 6                            IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Rocco Delia,                                 )   No. CV 05-1145-PHX-MHM (HCE)
                                                  )
10               Plaintiff,                       )   ORDER FOR PAYMENT
                                                  )
11   vs.                                          )   OF INMATE FILING FEE
                                                  )
12                                                )
     Joseph Arpaio,                               )
13                                                )
                 Defendant.                       )
14                                                )
                                                  )
15
16      TO: MARICOPA COUNTY SHERIFF JOSEPH M. ARPAIO.
17          Plaintiff Rocco Delia, #P042444, presently confined in the Maricopa County Towers
18   Jail in Phoenix, Arizona, has been assessed no initial partial filing fee for this action pursuant
19   to 28 U.S.C. § 1915(b)(1). Plaintiff will be obligated to make monthly payments in the
20   amount of 20 percent of the preceding month’s income credited to Plaintiff’s trust account.
21   The Maricopa County Sheriff is required to send to the Clerk of Court payments from
22   Plaintiff’s trust account each time the amount in the account exceeds $10.00, until the
23   statutory filing fee of $250.00 is paid in full. 28 U.S.C. § 1915(b)(2).
24   IT IS THEREFORE ORDERED that:
25          (1) The Maricopa County Sheriff or his designee shall collect the $250.00 filing fee
26   from Plaintiff’s trust account by collecting monthly payments in an amount equal to 20
27   percent of the preceding month’s income credited to Plaintiff’s trust account and forwarding
28   payments to the Clerk of Court each time the amount in the account exceeds $10.00 in
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 1   accordance with 28 U.S.C. § 1915(b)(2). The payments shall be clearly identified by the
 2   name and number assigned to this action.
 3            (2) The Clerk of Court is directed to serve by mail a copy of this Order on Maricopa
 4   County Sheriff’s Office Inmate Legal Services, 201 S. Fourth Avenue, Phoenix, Arizona,
 5   85003.
 6            (3) The Clerk of Court is directed to serve by mail a copy of this Order on Richard
 7   Stewart, Lead Counsel, Litigation Section, Maricopa County Attorney’s Office, Division of
 8   County Counsel, 222 N. Central Avenue, Suite 1100, Phoenix, Arizona, 85004.
 9            (4) The Clerk of Court is directed to forward a copy of this Order to Financial
10   Administration for the Phoenix Division of the U.S. District Court for the District of Arizona.
11   Financial Administration shall set up an account to receive payments on the filing fee for this
12   action and shall notify the Court when the filing fee is paid in full.
13            (5) The Maricopa County Sheriff or his designee shall notify the Clerk of Court in
14   writing when Plaintiff is either released from the Maricopa County Jail or transferred to a
15   correctional institution other than the Maricopa County Jail, so new billing arrangements may
16   be made to collect any balance still outstanding.
17            DATED this 3rd day of November, 2005.
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